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                        IN THE I'NTTED STATES DISTRICT COIJRT

                        DISTRICT OF UTAH, NORTIIERN DIVISION


DESIREE YOIJNG,                                           COMPLAINT

                   Plaintiffs,

                                                            Case no: 1:10-cv-00208-DB

KMGIIT ADruSTMENT BTJREAU,

                  Defendanls.                             JT,IRY TRIAL DEMANDf,D




                                      I. INTRODUCTION
        l.     This is an action for damages brought by an individual consumer for Defendant's

dolations ofthe federal Fair Debt Collection Practices Act, l5 U.S.C. $ 1692, et seq. (lweinaffer

'FDCPA').

                                      tr. JURISDICTION
       2.      Plaintiffs claim for violations ofthe FDCPA     arises under 15 U.S.C-   $ 1692k(d),

and therefore involves a "federal question" pusuatrt to 28 USC $ I 33 I .

                                         III.   PARTIES

       3.      Plaintitr, Desiree Young C'Plaintiff), is a natural person residing       in   Weber
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 County, Utah.

           4.    Defendant, Knight Adjustment Buleaq ("Defendant") is a corporation engaged in

the business of collecting debts by use of th€ mails and telephone. Defendant regularly attempts

to collect debts alleged due anqther.

                                         IV, FACTUAL ALLEGATIONS
        5.       Defendant is a "debt collectoi' as defined by the FDCPA, 15 U.S.C. g 1692a(6).

        6.       Plaintiffis   a   "consumer" as defined by the FDCPA, 15 U.S.C. g 1692a(3).

        7.       All activities of Defendant    set out herein were undertaken in connection with the

collection ofa "debt," as defined by l5 USC g 1692a(5).

        8.       Within the last year, Defendant took multiple actions in an attempt to collect    a

debt from Plaintif. Defendant's conduct violated the FDCPA in multiple ways, including the

following.

        9.       After Eceiving a witten communicarion ftom Plaintiff disputbg the debt within

the thirty-day dispute period, Defendant continued to contact Plaintiff without first providing

validation ofthe debt ($ 1692g(b)).

        10.      Defendant commurfcated with Plaintillabout the debt after it had received a letter

from Plaintiff with a rcquest to cease and desist all collection contacts or a statement that

Plaintiffretus€s to pay the debr (g 1692c(c)).

       I   l.    Defendant overshadowed the disclosures required by 15 USC g 1692g(a) during

the thirty-day dispute period by tbrcatening gamishment immediate gamishment within the

thirtyday period, which overshadowed the disclosure of Plaintifs right to dispute the debt ($

1692e(b).
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           12.   Defendant disclosed to a third party the existence of the debt allegedly owed by

Plaintitr ($ 1692b(2) & $ 1692c(b)).

           13.   Defendant provided the identity    of   Defendant   to a third party without     such

infonnatiqn being expressly requ€sted ($ 1692b(l) A $ 1692c(b)).

           14.   As a result of the aforcmentioned violationg Plaintiff suffered and continues to

suffer injuries to Plaintiffs feelings, persooat humiliation, embalrassment, mental anguish and

severe emotional disaess.

        15.      Defendant intended to cause, by means of the actions detailed above, injudes to

Plaintiffs feelings, p€rsonal humiliation, embarrassment, mental anguish and severe emotional

dis&ess.

        16.      Defedant's aclions, derailed above, werc undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       17.       To thc extent Defendalt's actiotls, detailed in paragmphs 8-13, were caried out

by an employee of Defendant, that employee was acting within the scope of his or                    her

employment.




       18.       Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       19.       The preceding paragraphs    st e a ptima facie      case   for Plaintiff and against

Defendant for violations ofthe FDCPA, g$ 1692g(b), 1692c(c), 1692(l),1692b/.4            &   1692c(b')-




                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfillly prays that judgrnent be entered against the
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Defendant for the following:

       A.     Declaratory judgnent tllat Def€ndant's conduct violated the FDCPA;

       B.     Actual damages pu$uant to 15 USC 1692k;

       C.      Statutory darnages pu$uant to 15 U.S.C. $ 1692k;

       D.     Cost& disburs€ments and reasonable attomey's fess for all succ&ssfirl claims, and

any unsuccessfi claims arising out of the same ta[saction     ol   occudenc€ as the successfirl

claims, pursuant to 15 U.S.C. $ 1692k; and,

       E.     For such other and fi[ther reliefas may bojust and Foper.

                  PLAINTIFT IIEREBY REOUESTS A TRIAL BY JURY




              Dared this 106 d8y ofDec€nber, 2010.


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